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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS
                                      No. 14-462V
                              Filed: September 25, 2014
                                 (Not to be published)

****************************
LESLIE FOX,                             *
                                        *
                    Petitioner,         *     Ruling on Entitlement; Flu; SIRVA
v.                                      *
                                        *
SECRETARY OF HEALTH                     *
AND HUMAN SERVICES,                     *
                                        *
                    Respondent.         *
                                        *
****************************
William Cochran, Jr., Esq., Black McLaren Jones Ryland & Griffee, PC, Memphis, TN
for petitioner.
Gordin Shemin, Esq., U.S. Department of Justice, Washington, DC for respondent.

                                    RULING ON ENTITLEMENT1

Gowen, Special Master:

       On June 2, 2014, Leslie Fox filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 [the “Vaccine
Act” or “Program”]. The petition alleges that as a result of an influenza vaccine
administered to her on November 28, 2012, she suffered arm and shoulder injuries,
including adhesive capsulitis. Petition at 1.

      On August 25, 2014, respondent filed her Rule 4(c) Report [“Respondent’s
Report”], in which she concedes that petitioner is entitled to compensation in this case.
Respondent’s Report at 1.

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I intend to
post this ruling and order on the United States Court of Federal Claims' website, in accordance with the
E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and
move to delete medical or other information, the disclosure of which would constitute an unwarranted
invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will
delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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        Specifically, respondent submits petitioner’s alleged injury is consistent with a
Shoulder Injury Related to Vaccine Administration [SIRVA] and that it was caused-in-
fact by the flu vaccine she received on November 28, 2012. Respondent’s Report at 4.
Respondent notes that she did not identify any other causes for petitioner’s SIRVA, and
based on the medical records outlined, petitioner met the statutory requirements by
suffering the condition for more than six months. Id. “Therefore, based on the record
as it now stands, [respondent concedes that] petitioner has satisfied all legal
prerequisites for compensation under the Act.” Id.

       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.


                                  s/Thomas L. Gowen
                                  Thomas L. Gowen
                                  Special Master
